Case 2:21-cv-02813-CFK   Document 47-9   Filed 03/15/22   Page 1 of 14




  EXHIBIT G
Case 2:21-cv-02813-CFK    Document 47-9   Filed 03/15/22   Page 2 of 14

                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA




          RYAN QUARLES,

                         Plaintiff,

          vs.                             Civil Action No. 21-cv-02813

          COMMISSIONER OUTLAW, et al.

                    Defendants.
          ____________________________________________________




                               REMOTE DEPOSITION BY VIDEOCONFERENCE

                                                 OFFICER KEVIN TILGHMAN


                                                                  TAKEN ON
                                                           JANUARY 4, 2022
                                                                 3:23 P.M.


                                                    1515 ARCH STREET
                                    PHILADELPHIA, PENNSYLVANIA 19102
        Case 2:21-cv-02813-CFK       Document 47-9 Filed
                     Ofc Kevin Tilghman January 4, 2022
                                                           03/15/22 Page 3 of 14
                                                        NDT Assgn # 54757                                      Page 2

                                                   2                                                               4

 1           APPEARANCES BY VIDEOCONFERENCE             1               EXHIBITS INDEX
 2                                                      2 Exhibit                    Page
 3 Appearing on behalf of the Plaintiff:                3
 4 AARON BELL, ESQUIRE                                  4              (NONE MARKED)
 5 Bell Law Offices                                     5
 6 7303 Frankford Avenue                                6
 7 Philadelphia, PA 19136                               7
 8 (215)609-4888                                        8
 9 (833)683-1636 (Fax)                                  9
10 aaronbelllawfirm@gmail.com                          10
11                                                     11
12 Appearing on behalf of the Defendant:               12
13 SHANNON ZABEL, ESQUIRE                              13
14 City of Philadelphia Law Department                 14
15 1515 Arch Street, 14th Floor                        15
16 Philadelphia, PA 19102                              16
17 (215)683-5433                                       17
18 Shannon.Zabel@phila.gov                             18
19                                                     19
20 Also Present:                                       20
21 Mark Nilson, Videoconference Technician             21
22                                                     22
23                                                     23
24                                                     24
25                                                     25


                                                   3                                                               5

 1           EXAMINATION INDEX                          1       REMOTE DEPOSITION BY VIDEOCONFERENCE
 2                         Page                         2           OFFICER KEVIN TILGHMAN
 3                                                      3                TAKEN ON
 4 EXAMINATION BY MR. BELL            5                 4             JANUARY 4, 2022
 5                                                      5                3:23 P.M.
 6 EXAMINATION BY MS. ZABEL           17                6
 7                                                      7        THE REPORTER: Officer Tilghman, can I
 8 FURTHER EXAMINATION BY MR. BELL         18           8 please have you raise your right hand?
 9                                                      9        THE REPORTER: Do you solemnly swear or
10 FURTHER EXAMINATION BY MS. ZABEL           19       10 affirm under the penalty of perjury that the
11                                                     11 testimony you are about to give will be the truth,
12 FURTHER EXAMINATION BY MR. BELL         20          12 the whole truth, and nothing but the truth?
13                                                     13        THE DEPONENT: I do.
14                                                     14        THE REPORTER: Thank you. Thank you,
15                                                     15 Counsel. You may proceed.
16                                                     16 KEVIN TILGHMAN, having been duly sworn, was
17                                                     17 examined, and testified as follows:
18                                                     18 EXAMINATION
19                                                     19 BY MR. BELL:
20                                                     20     Q. All right. Good afternoon, Officer
21                                                     21 Tilghman.
22                                                     22     A. Good afternoon.
23                                                     23     Q. Well, you're not a defendant in this case
24                                                     24 so I don't have a lot of questions for you. If you
25                                                     25 don't understand any of my questions, just let me
           Case 2:21-cv-02813-CFK       Document 47-9 Filed
                        Ofc Kevin Tilghman January 4, 2022
                                                              03/15/22 Page 4 of 14
                                                           NDT Assgn # 54757                                            Page 3

                                                          6                                                                 8

 1 know and I'll rephrase it.                                  1     Q. Out of any -- any state. It don't even
 2     A. Okay.                                                2 matter if their license was valid. And when I say
 3     Q. I'd like to just start off, what's the               3 "valid", I mean it's valid under Pennsylvania law.
 4 highest level of education do you have?                     4     A. Okay. Yeah, 'cause in Pennsylvania you
 5     A. I have a bachelor's degree from Slippery             5 can only carry if it's reciprocated with other
 6 Rock University.                                            6 commonwealths.
 7     Q. Okay. And would that be in criminal                  7     Q. Yes, that's correct.
 8 justice?                                                    8     A. So, yeah, if he -- if we could verify it,
 9     A. That's correct.                                      9 you know, well, that's fine. But that wasn't --
10     Q. All right. How do you verify a gun                  10     Q. Good.
11 license?                                                   11     A. -- the case with that --
12     A. You run the person through the NCIC/PCIC            12     Q. I understand, I understand. I'm not going
13 system or you can call the -- if they have a license       13 there. I understand.
14 to carry, you can call the -- the number on the            14     A. Yeah.
15 license to carry. It's normally the State Police of        15     Q. Okay. Hold on a second, Officer. Would
16 Pennsylvania.                                              16 you call 911 dispatch to verify a firearms license?
17     Q. Okay.                                               17     A. You -- there's -- there's instances where
18     A. You also can call NCIC as well.                     18 you can because the front -- the dispatcher's
19     Q. Okay. So is it fair to say you're not an            19 supervisor can; but, again, I don't think that
20 expert in Georgia's gun laws?                              20 they're capable of running it outside of, you know,
21     A. Expert? No.                                         21 like PA. I think that, again, you would have to
22     Q. All right. How does -- what's the                   22 call NCIC/PCIC.
23 Philadelphia Police Department's specific policy on        23     Q. Okay.
24 verifying a gun permit issued from the State of            24     A. Which again is not a national database.
25 Georgia?                                                   25     Q. Okay. So -- all right. Let me rewind up


                                                          7                                                                 9

 1     A. You would have to call NCIC and if you --            1 just -- let me rewind just a little bit. So you said
 2 NCIC/PCIC, and if you -- if they can't get in               2 there are instances where instead of calling a
 3 contact with that, I would probably call the                3 fusion center or running somebody through NCIC/PCIC,
 4 detectives because they can go further. They can,           4 you will call 911 dispatch?
 5 you know, investigate it a little further.                  5     A. It's not -- so what I would do is I would
 6     Q. Okay. All right. To -- to the best of                6 go over air, which is police radio, and I would ask
 7 your knowledge, does the Philadelphia Police                7 --
 8 Department have a specific policy for verifying             8     Q. Okay.
 9 Georgia gun licenses?                                       9     A. -- for can they run them now for a
10     A. No, not a specific, not that I would know           10 license, a valid license to carry.
11 of.                                                        11     Q. Oh.
12     Q. All right. Do you remember your encounter           12     A. Not actually call on the phone --
13 with Ryan Quarles in March 29, 2020?                       13     Q. Okay.
14     A. Yeah, I remember the -- the general -- the          14     A. -- but I would relay that information over
15 gist of it, correct, yes.                                  15 the police radio and then the dispatcher will let
16     Q. All right. All right. Well, remember                16 her supervisor run it. But, again, I think -- I
17 that you placed him under arrest for carrying a            17 don't think we have the capable to run outside so we
18 firearm without a license?                                 18 would have to call NCIC.
19     A. Correct.                                            19     Q. All right, Officer. You know, I
20     Q. All right. Now, if Mr. Quarles was                  20 apologize; I should have asked a better question or
21 capable of handing you a valid license to carry,           21 made it more clear. My question specifically is,
22 would you have arrested him?                               22 would you call a 911 operator, not -- not your
23     A. A valid license to carry?                           23 radio. I'm not talking about your radio.
24     Q. Yes.                                                24     A. Okay.
25     A. Out of Philadelphia?                                25     Q. But while you -- yeah, like, while you're
           Case 2:21-cv-02813-CFK       Document 47-9 Filed
                        Ofc Kevin Tilghman January 4, 2022
                                                              03/15/22 Page 5 of 14
                                                           NDT Assgn # 54757                                             Page 4

                                                          10                                                                12

 1 on the phone, got somebody pulled over at a traffic          1 that person doesn't have a license, right?
 2 stop, would you get on your cell phone and dial 911          2     A. Like, a driver's license or a license to
 3 and the operator, "How can I help you?" "Hey, can            3 carry?
 4 you verify a gun license?" You wouldn't do that,             4     Q. No, excuse me. A license to carry a
 5 right?                                                       5 firearm.
 6     A. No.                                                   6     A. Not necessarily. I've had encounters
 7     Q. All right. That -- would -- okay. Is that             7 where people didn't have their license to carry on
 8 -- would that appear proper to you based on your             8 them and I ran them through the NCIC/PCIC system and
 9 training?                                                    9 a license to carry popped up valid and all. But
10     A. Based on -- based on my training, it would           10 they should have their license to carry, you know,
11 be un-ordinary, but I'm pretty sure if it did               11 on them but everybody makes mistakes. Sometimes,
12 happen, you know, the operator -- the call taker            12 you know, I leave the house and leave my driver's
13 would transfer it over, you know, whoever to the --         13 license in the house as I'm going to the store real
14 to the appropriate resource.                                14 fast.
15     Q. All right. But you do understand that 911            15     Q. Yeah, that's understandable. All right.
16 dispatch officers typically don't verify gun                16 So the specific question was, and I should've asked
17 licenses?                                                   17 a better question again, is that are you familiar
18     A. This is --                                           18 with Pennsylvania's statute that says that if a
19        MS. ZABEL: Objection to the form. Go                 19 person cannot produce a license to carry the
20 ahead, Officer, you can answer.                             20 firearm, that would give the officers the authority
21        THE DEPONENT: So, yes, call takers do not            21 to make the arrest? I'm not saying you have to, but
22 because -- because it goes -- it goes from 911 call         22 are you -- are you familiar with that?
23 taker to dispatch to us as the police.                      23     A. I'm -- so I know that you need a license
24 BY MR. BELL:                                                24 to carry, correct. I'm not like do I -- do I read
25     Q. Okay. All right. Hold on one second,                 25 that statute, like, word for word?


                                                          11                                                                13

 1 Officer. All right. So when you encountered Mr.              1     Q. All right.
 2 Quarles you did try to the best of your knowledge to         2     A. Like, I'm familiar with the -- the gist of
 3 see if he actually had a valid license to carry from         3 it. If you don't have a license to carry, you --
 4 the State of Georgia.                                        4 and you possess a firearm, you get locked up.
 5     A. Yes, so I think -- I believe -- I can't               5     Q. All right. That's good enough. Hold on
 6 really, you know, really remember every little               6 one second, Officer. Would you consider verifying
 7 detail but I do remember calling up Southwest. I             7 gun licenses to be a major function of your job as a
 8 remember, you know, stating that -- and if I'm not           8 police officer?
 9 mistaken, in my interview or some type of paperwork          9     A. Very, very, very much so.
10 that he said he had a license to carry out of               10     Q. Could you explain why?
11 Georgia but the detectives couldn't find it, either,        11     A. Well, I, I'm in a tactical unit so my job
12 I believe.                                                  12 specifically is to initiate car stops and ped stops
13     Q. All right. All right. But you did get                13 and go into radio calls of priority. So if I'm
14 it? I'm sorry.                                              14 going to a person with a gun call and a guy has a
15     A. Yeah, and the -- and the firearm was                 15 gun on him, I need to verify his license to carry
16 actually illegal that he had.                               16 before I walk up to this guy, you know, who has a
17     Q. Yeah, it was reported stolen.                        17 firearm. Same way if I stop a vehicle; someone has a
18     A. Correct.                                             18 license to carry, I would like to know when I pull
19     Q. All right. If you were able to confirm               19 that vehicle over that there's a gun in their car
20 with the State of Georgia that -- that he had a             20 for my safety and, you know, the occupant's safety
21 license, a valid license that was active at that            21 as well.
22 time -- I strike that question. You answered that           22     Q. Okay. All right. If you know, like, in a
23 already. You're familiar with Pennsylvania law that         23 given -- in a given week, and I'm not expecting you
24 says that if a person isn't able to produce the             24 to know the exact number every week, but generally
25 physical license, that's prima facie evidence that          25 how many times would you have to verify whether a
           Case 2:21-cv-02813-CFK       Document 47-9 Filed
                        Ofc Kevin Tilghman January 4, 2022
                                                              03/15/22 Page 6 of 14
                                                           NDT Assgn # 54757                                             Page 5

                                                          14                                                                16

 1 person has a license to carry?                               1     Q. Okay. So the question basically is this:
 2     A. In a week?                                            2 When you attempted to verify whether Mr. Quarles had
 3     Q. Yeah.                                                 3 a license out of Georgia, you didn't go outside of
 4     A. Easy, over 20, over 20.                               4 established police department norms in trying to
 5     Q. Okay.                                                 5 verify his license?
 6     A. I normally on a active week could do                  6        MS. ZABEL: Objection, asked and answered.
 7 anywhere between 20 to 50 stops.                             7 Officer, you can answer.
 8     Q. Okay. Wow. All right. So in a given                   8        THE DEPONENT: No, I think I did what I
 9 year approximately how many? If you could, I don't           9 could do within my realm, and that's to --
10 expect you to know the exact -- I know, it's a lot.         10 BY MR. BELL:
11 So --                                                       11     Q. All right.
12     A. I would -- I would say -- I would say over           12     A. -- do, you know, the basic run because
13 -- over, smooth over a hundred, or like this is --          13 once you run someone you can, like, you can run
14     Q. All right. That's fair, Officer.                     14 someone, like, NCIC through, like, the -- I would
15     A. Yeah.                                                15 say the -- I don't know, the Penn Data -- the DMV
16     Q. So just to be clear if a person doesn't              16 database through different -- through different
17 have -- you encounter -- you lawfully stop a person,        17 states. However, you can't run anyone through
18 they have a firearm on them, and you can't confirm          18 different states for a license to carry because
19 whether their license is legit, they pretty much go         19 normally what happens with in Pennsylvania as soon
20 to jail; is that accurate?                                  20 as you run the license now they update it.
21     A. Go to jail? I would -- well, I wouldn't -            21        I'm not sure if it was still that when I
22 - I don't like the way that was phrased. I'd like -         22 stopped Mr. Quarles, but before you would actually
23 -                                                           23 have to call. But now when you run a license, the -
24     Q. Thank you. Let me rephrase it.                       24 - one of the very last messages is the license to
25     A. If it was                                            25 carry, is it revoked, the number, and the -- the


                                                          15                                                                17

 1     Q. I'll rephrase it. Yeah. Apologize. All                1 license, the carry number.
 2 right. When you -- if you -- when you lawfully stop          2        So as long as I get that and that's
 3 someone and they have a firearm in their possession          3 verified in the NCIC/PCIC system, along with the
 4 on a public street, if they don't have a license to          4 card that matches up, that person at least in
 5 carry that person would go to jail?                          5 Philadelphia is free to go. He said he had a
 6     A. Correct.                                              6 Georgia one, so that's when I called Southwest or if
 7     Q. All right. In this case did you to the                7 I didn't call them exactly I either transported it
 8 best of your knowledge, did you attempt to verify            8 to the 18th and verified it there. It was either of
 9 whether Mr. Quarles had a active Georgia permit,             9 the two. I can't -- like I said, it's been -- we're
10 according to the established policies and guidelines        10 talking almost two years ago, I believe.
11 in this case?                                               11     Q. All right. And the fact that he didn't
12     A. So where we -- like I said, I can't really           12 physically have a license on his person to give you,
13 remember; I do remember he didn't come back with a          13 that didn't help, either, right?
14 license to carry out of Philadelphia. So --                 14     A. That didn't help but again, I mean, if he
15     Q. All right.                                           15 had a valid license to carry from Georgia with a
16     A. -- he said Georgia so then I did call                16 stolen firearm, you probably would still end up --
17 Southwest; Southwest could not confirm. I'm not             17        MR. BELL: Yeah, yeah. I'm not really --
18 sure in relation to if I called Southwest detectives        18 I don't care about the gun, just the license issue.
19 when I -- it was during the stop or -- or after the         19 All right. I don't have anything else for you,
20 stop. You know? But I actually tried to confirm             20 Officer.
21 with them, but like he said, you know, also, the            21        THE DEPONENT: All right.
22 firearm was actually reported stolen and it wasn't          22 EXAMINATION
23 from him, so in this case it probably wouldn't -- it        23 BY MS. ZABEL:
24 probably wouldn't have helped if he had, you know,          24     Q. Officer, I just want you to finish what
25 he had a stolen firearm.                                    25 you were saying earlier. So Mr. Quarles was
           Case 2:21-cv-02813-CFK       Document 47-9 Filed
                        Ofc Kevin Tilghman January 4, 2022
                                                              03/15/22 Page 7 of 14
                                                           NDT Assgn # 54757                                           Page 6

                                                          18                                                              20

 1 arrested and you were telling us that if he had a            1    A. I, I'm aware of the owner but I didn't --
 2 valid license to carry, he still had a stolen gun on         2 the actual -- the owner was not -- that I know of,
 3 him, anyway. Can you explain what you were saying            3 but I'm not sure of the actual, you know,
 4 there?                                                       4 investigation and the interview that took place.
 5      A. Yeah. So he -- the -- the firearm was                5        MS. ZABEL: Got it. That's it then.
 6 reported stolen and, you know, it wasn't reported            6 Thank you.
 7 stolen from him. So if it was his, you know, like,           7        MR. BELL: I have a follow-up.
 8 I'll break it down into, like, a car aspect. You             8 FURTHER EXAMINATION
 9 know, we stop -- we get a lot of stolen cars and             9 BY MR. BELL:
10 we'll run the tag and sometimes, you know, the owner        10    Q. Officer, are you aware that the actual
11 gets -- recovers the gun -- the car, I'm sorry, but         11 owner of the firearm actually said Mr. Quarles
12 doesn't take it out of the system.                          12 didn't steal it from him?
13         So now if he had reported it stolen but             13    A. Not, yeah, I'm not aware of it. I just
14 ended up finding his firearm then that's one thing,         14 know that he was in possession of a firearm that
15 but for the firearm not to belong to him then that          15 wasn't his; that's all I know.
16 means he still is in possession of stolen property.         16        MR. BELL: All right. I have nothing
17         MS. ZABEL: Okay. Thank you, Officer.                17 else.
18 That's all I have for you.                                  18        MS. ZABEL: Just give me a moment, please.
19         MR. BELL: I have a couple of questions on           19 No further questions. Thank you, Officer.
20 that, Officer.                                              20        THE DEPONENT: Thank you.
21 FURTHER EXAMINATION                                         21        THE REPORTER: Officer, if you could just
22 BY MR. BELL:                                                22 please stand by. Mr. Bell, would you like the
23      Q. Did you have any evidence that Mr. Quarles          23 original of this transcript?
24 actually stole the firearm?                                 24        MR. BELL: Yes, please.
25      A. No, not at all. It was just --                      25        THE REPORTER: Okay. And then Ms. Zabel,


                                                          19                                                              21

 1     Q. He was just in possession of it?                      1 would you like a copy?
 2     A. Just in possession of it. No --                       2        MS. ZABEL: Yes, please; if I could do the
 3     Q. Yeah. Yeah, he didn't say, "Hey, I stole              3 electronic mini again? Thank you.
 4 this firearm from Georgia." He didn't tell you               4        THE REPORTER: Yes, ma'am. Okay. The time
 5 that?                                                        5 is 3:41 p.m. and we are now off the record.
 6     A. No, not that I can remember. I wouldn't.              6        (WHEREUPON, the deposition of OFFICER
 7         MR. BELL: I don't have anything else,                7 MICHAEL TILGHMAN was concluded at 3:41 p.m.)
 8 Officer.                                                     8
 9         THE DEPONENT: All right.                             9
10         THE REPORTER: Okay. Counsel, are we                 10
11 ready to go off the record?                                 11
12         MR. BELL: Yeah.                                     12
13         MS. ZABEL: Just let me have one more                13
14 question if you don't mind.                                 14
15         THE REPORTER: Yes, ma'am.                           15
16 FURTHER EXAMINATION                                         16
17 BY MS. ZABEL:                                               17
18     Q. Officer, are you aware that whenever a               18
19 person is in possession of a firearm that is not            19
20 theirs detectives do an investigation to determine          20
21 who the firearm belongs to?                                 21
22     A. That's correct.                                      22
23     Q. Okay. Are you aware in this case that                23
24 detectives did an investigation and determined that         24
25 it belonged to someone other than Mr. Quarles?              25
          Case 2:21-cv-02813-CFK       Document 47-9 Filed
                       Ofc Kevin Tilghman January 4, 2022
                                                             03/15/22 Page 8 of 14
                                                          NDT Assgn # 54757                                              Page 7

                                                                22                                                           24

 1                CERTIFICATE                                         1              DECLARATION
 2                                                                    2 Deposition of: Ofc. Kevin Tilghman       Date: 01/04/22
 3     I, Jordan Weems, do hereby certify that I reported all         3 Regarding: Quarles vs. Commissioner Outlaw
 4 proceedings adduced in the foregoing matter and that the           4 Reporter:     Weems/Tate
 5 foregoing transcript pages constitutes a full, true and            5 ____________________________________________________
 6 accurate record of said proceedings to the best of my              6
 7 ability.                                                           7 I declare under penalty of perjury the following to
 8                                                                    8 be true:
 9     I further certify that I am neither related                    9
10 to counsel or any party to the proceedings nor have any           10 I have read my deposition and the same is true and
11 interest in the outcome of the proceedings.                       11 accurate save and except for any corrections as made
12                                                                   12 by me on the Correction Page herein.
13     IN WITNESS HEREOF, I have hereunto set my hand this           13
14 19th day of January, 2022.                                        14 Signed at ____________________________, ____________
15                                                                   15 on the ______________ day of ________________, 2022.
16                                                                   16
17                                                                   17
18                                                                   18
19                                                                   19
20 /S/ Jordan Weems                                                  20
21                                                                   21
22                                                                   22
23                                                                   23
24                                                                   24             Signature___________________________
25                                                                   25                  Ofc. Kevin Tilghman


                                                                23

 1            CORRECTION SHEET
 2 Deposition of: Ofc. Kevin Tilghman     Date: 01/04/22
 3 Regarding: Quarles vs. Commissioner Outlaw
 4 Reporter:     Weems/Tate
 5 ____________________________________________________
 6 Please make all corrections, changes or clarifications
 7 to your testimony on this sheet, showing page and line
 8 number. If there are no changes, write "none" across
 9 the page. Sign this sheet on the line provided.
10 Page Line Reason for Change
11 _____ _____ ________________________________________
12 _____ _____ ________________________________________
13 _____ _____ ________________________________________
14 _____ _____ ________________________________________
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19 _____ _____ ________________________________________
20 _____ _____ ________________________________________
21 _____ _____ ________________________________________
22 _____ _____ ________________________________________
23 _____ _____ ________________________________________
24             Signature___________________________
25                  Ofc. Kevin Tilghman
    Case 2:21-cv-02813-CFK       Document 47-9 Filed 03/15/22
              Ofc Kevin Tilghman January 4, 2022 NDT Assgn # 54757
                                                                     Page 9 of 14   Page 8

     1                  20:3 20:10            attempted               break 18:8
18th 17:8             actually 9:12            16:2
                       11:3                   authority                     C
     2                 11:16 15:20             12:20                  capable
20 14:4                15:22 16:22                                     7:21 8:20
                                              aware 19:18
 14:4 14:7             18:24 20:11                                     9:17
                                               19:23
2020 7:13             affirm 5:10              20:1                   car 13:12
                      afternoon                20:10 20:13             13:19
2022 5:4
                                                                       18:8 18:11
29 7:13                5:20 5:22
                                                   B                  card 17:4
                      ago 17:10
                                              bachelor's              care 17:18
     3                ahead 10:20              6:5
3:23 5:5                                                              carry 6:14
                      air 9:6                 based 10:8
3:41 21:5                                                              6:15 7:21
                      already 11:23            10:10 10:10             7:23 8:5
 21:7
                      answer                  basic 16:12              9:10 11:3
        4              10:20 16:7             basically                11:10
                                               16:1                    12:3 12:4
4 5:4                 answered
                                                                       12:7 12:9
                       11:22 16:6             believe                  12:10 12:19
     5                anyone 16:17             11:5                    12:24
50 14:7                                        11:12 17:10             13:3
                      anything
                       17:19 19:7             Bell 5:19                13:15 13:18
      9                                        10:24 16:10             14:1 15:5
911 8:16              anyway 18:3
                                               17:17 18:19             15:14 16:18
 9:4 9:22             anywhere 14:7            18:22                   16:25
 10:2                 apologize                19:7                    17:1
 10:15 10:22           9:20 15:1               19:12                   17:15 18:2
                                               20:7 20:9              carrying 7:17
                      appear 10:8
     A                                         20:16 20:22
able 11:19            appropriate                                     cars 18:9
                                               20:24
 11:24                 10:14                  belong 18:15            case 5:23
according             approximately                                    8:11 15:7
                                              belonged                 15:11 15:23
 15:10                 14:9
                                               19:25                   19:23
accurate              arrest 7:17
                                              belongs 19:21           cause 8:4
 14:20                 12:21
                                              best 7:6 11:2           cell 10:2
active                arrested 7:22
                                               15:8
 11:21                 18:1                                           center 9:3
 14:6 15:9                                    better 9:20
                      aspect 18:8                                     clear 9:21
                                               12:17
actual 20:2           attempt 15:8                                     14:16
                                              bit 9:1
    Case 2:21-cv-02813-CFK      Document 47-9 Filed 03/15/22
              Ofc Kevin Tilghman January 4, 2022 NDT Assgn # 54757
                                                                     Page 10 of 14 Page 9

commonwealths           5:1 21:6                 21:3                    14:14
 8:6                  detail 11:7             else 17:19               familiar
concluded             detectives               19:7 20:17               11:23 12:17
 21:7                  7:4 11:11              encounter                 12:22 13:2
confirm 11:19          15:18 19:20             7:12 14:17              fast 12:14
 14:18 15:17           19:24                  encountered              finding 18:14
 15:20                determine                11:1                    fine 8:9
consider 13:6          19:20                  encounters               finish 17:24
contact 7:3           determined               12:6
                       19:24                                           firearm
copy 21:1                                     established
                                                                        7:18
                      dial 10:2                15:10 16:4
correct 6:9                                                             11:15
 7:15 7:19            different               everybody                 12:5
 8:7 11:18             16:16 16:16             12:11                    12:20
 12:24                 16:18                  evidence                  13:4
 15:6 19:22           dispatch 8:16            11:25 18:23              13:17 14:18
Counsel                9:4 10:16                                        15:3
                                              exact 13:24               15:22 15:25
 5:15 19:10            10:23                   14:10                    17:16
couple 18:19          dispatcher              exactly 17:7              18:5
criminal 6:7           9:15                                             18:14 18:15
                                              EXAMINATION
                      dispatcher's                                      18:24
                                               5:18
     D                 8:18                                             19:4
                                               17:22 18:21
Data 16:15            DMV 16:15                                         19:19 19:21
                                               19:16 20:8
                                                                        20:11 20:14
database 8:24         driver's 12:2           examined 5:17
 16:16                                                                 firearms 8:16
                       12:12                  excuse 12:4
defendant             duly 5:16                                        follow-up
                                              expect 14:10              20:7
 5:23                 during 15:19            expecting                form 10:19
degree 6:5
                                               13:23
department                 E                                           free 17:5
                                              expert 6:20
 7:8 16:4             earlier 17:25                                    front 8:18
                                               6:21
Department's          Easy 14:4                                        function 13:7
                                              explain 13:10
 6:23                 education 6:4                                    fusion 9:3
                                               18:3
DEPONENT 5:13         either
 10:21                 11:11                       F                        G
 16:8                  17:7 17:8              facie 11:25              general 7:14
 17:21                 17:13                  fact 17:11               generally
 19:9 20:20
                      electronic              fair 6:19                 13:24
deposition
    Case 2:21-cv-02813-CFK      Document 47-9 Filed 03/15/22
             Ofc Kevin Tilghman January 4, 2022 NDT Assgn # 54757
                                                                    Page 11 of 14 Page 10

Georgia               Hey 10:3 19:3             19:20 19:24             9:10 9:10
 6:25 7:9             highest 6:4               20:4                    10:4 11:3
 11:4                                         isn't 11:24               11:10 11:21
 11:11 11:20          Hold 8:15                                         11:21 11:25
                       10:25 13:5             issue 17:18               12:1 12:2
 15:9
 15:16                house 12:12             issued 6:24               12:2 12:4
 16:3 17:6             12:13                  I've 12:6                 12:7 12:9
 17:15 19:4                                                             12:10 12:13
                      hundred 14:13
Georgia's                                                               12:19 12:23
                                                   J
                                                                        13:3
 6:20                      I                  jail 14:20
                                                                        13:15 13:18
gets 18:11            I'd 6:3 14:22            14:21 15:5               14:1
gist 7:15             I'll 6:1 15:1           JANUARY 5:4               14:19
 13:2                  18:8                   job 13:7                  15:4
                      illegal 11:16            13:11                    15:14
given 13:23
                                                                        16:3 16:5
 13:23 14:8           I'm 8:12 9:23           justice 6:8
                                                                        16:18 16:20
guidelines             10:11                                            16:23 16:24
 15:10                 11:8                         K                   17:1
gun 6:10 6:20          11:14 12:13            KEVIN 5:2                 17:12 17:15
                       12:21 12:23             5:16                     17:18 18:2
 6:24 7:9
                       12:24
 10:4                                         knowledge 7:7           licenses
                       13:2
 10:16                                         11:2 15:8               7:9 10:17
                       13:11 13:13
 13:7                                                                  13:7
                       13:23 15:17
 13:14 13:15                                       L
                       16:21 17:17                                    little 7:5
 13:19 17:18                                  last 16:24
                       18:11                                           9:1 11:6
 18:2 18:11
                       20:1 20:3              law 8:3 11:23           locked 13:4
guy 13:14              20:13                  lawfully                long 17:2
 13:16
                      information              14:17 15:2
                       9:14                                           lot 5:24
     H                                        laws 6:20                14:10 18:9
hand 5:8              initiate                least 17:4
                       13:12
handing 7:21                                  leave 12:12                   M
                      instances                                       ma'am 19:15
happen 10:12                                   12:12
                       8:17 9:2                                        21:4
happens 16:19                                 legit 14:19
                      instead 9:2                                     major 13:7
having 5:16                                   level 6:4
                      interview                                       March 7:13
help 10:3              11:9 20:4              license
                                               6:11 6:13              matches 17:4
 17:13 17:14          investigate
                                               6:15 7:18              matter 8:2
helped 15:24           7:5                     7:21 7:23
                                                                      may 5:15
                      investigation            8:2 8:16
    Case 2:21-cv-02813-CFK      Document 47-9 Filed 03/15/22
             Ofc Kevin Tilghman January 4, 2022 NDT Assgn # 54757
                                                                    Page 12 of 14 Page 11

mean 8:3                10:20                   21:5 21:7             placed 7:17
 17:14                  11:1 13:6             PA 8:21                 please 5:8
means 18:16             13:8
                                              paperwork                20:18 20:22
                        14:14
messages                                       11:9                    20:24 21:2
                        16:7
 16:24                  17:20 17:24           ped 13:12               police 6:15
MICHAEL 21:7            18:17 18:20                                    6:23 7:7
                                              penalty 5:10
                        19:8                                           9:6 9:15
mind 19:14                                    Penn 16:15               10:23
                        19:18 20:10
mini 21:3               20:19 20:21           Pennsylvania             13:8 16:4
mistaken 11:9           21:6                   6:16 8:3               policies
mistakes              officers                 8:4 11:23               15:10
                       10:16 12:20             16:19                  policy 6:23
 12:11
                      Oh 9:11                 Pennsylvania'            7:8
moment 20:18
                                               s 12:18                popped 12:9
                      okay 6:2
     N                 6:7 6:17               people 12:7             possess 13:4
national 8:24          6:19 7:6               perjury 5:10            possession
NCIC 6:18 7:1          8:4 8:15
                                              permit 6:24              15:3
 9:18 16:14            8:23 8:25
                                               15:9                    18:16
                       9:8 9:13
NCIC/PCIC                                     person 6:12              19:1 19:2
                       9:24 10:7
 6:12 7:2                                      11:24                   19:19 20:14
                       10:25 13:22
 8:22 9:3              14:5 14:8               12:1                   pretty
 12:8 17:3             16:1                    12:19 13:14             10:11 14:19
necessarily            18:17 19:10             14:1                   prima 11:25
 12:6                  19:23 20:25             14:16 14:17
                                                                      priority
                       21:4                    15:5 17:4
normally 6:15                                                          13:13
                                               17:12 19:19
 14:6 16:19           operator 9:22
                                              Philadelphia            probably
norms 16:4             10:3 10:12
                                               6:23 7:7                7:3 15:23
                      original                                         15:24 17:16
nothing                                        7:25
                       20:23
 5:12 20:16                                    15:14 17:5             proceed 5:15
                      outside
                                              phone 9:12              produce 11:24
     O                 8:20 9:17
                                               10:1 10:2               12:19
Objection              16:3
                                              phrased 14:22           proper 10:8
 10:19 16:6           owner 18:10
occupant's             20:1 20:2              physical                property
 13:20                 20:11                   11:25                   18:16

officer 5:2                                   physically              public 15:4
                           P                   17:12
 5:7 5:20                                                             pull 13:18
                      p.m 5:5
 8:15 9:19
    Case 2:21-cv-02813-CFK      Document 47-9 Filed 03/15/22
             Ofc Kevin Tilghman January 4, 2022 NDT Assgn # 54757
                                                                    Page 13 of 14 Page 12

pulled 10:1             15:18                                           12:25
                                                   S
                      relay 9:14                                      steal 20:12
      Q                                       safety
                      remember 7:12            13:20 13:20            stole 18:24
Quarles
                       7:14 7:16                                       19:3
 7:13 7:20                                    second 8:15
                       11:6 11:7                                      stolen
 11:2 15:9                                     10:25 13:6
                       11:8                                            11:17 15:22
 16:2                                         should've
                       15:13 15:13                                     15:25 17:16
 16:22 17:25                                   12:16
                       19:6                                            18:2 18:6
 18:23 19:25
 20:11                REMOTE 5:1              Slippery 6:5             18:7 18:9
                      rephrase                smooth 14:13             18:13 18:16
question 9:20
 9:21                  6:1 14:24              solemnly 5:9            stop 10:2
 11:22 12:16           15:1                                            13:17 14:17
                                              somebody
 12:17                reported                                         15:2
                                               9:3 10:1
 16:1 19:14            11:17 15:22                                     15:19 15:20
                                              someone 13:17            18:9
questions              18:6 18:6
                       18:13                   15:3                   stopped 16:22
 5:24 5:25
                                               16:13 16:14
 18:19 20:19          REPORTER                                        stops 13:12
                                               19:25
                       5:7 5:9                                         13:12 14:7
     R                                        sorry 11:14
                       5:14                                           store 12:13
radio 9:6              19:10 19:15             18:11
                       20:21 20:25            Southwest               street 15:4
 9:15 9:23
 9:23 13:13            21:4                    11:7                   strike 11:22
raise 5:8             resource                 15:17 15:17            supervisor
                                               15:18 17:6
ran 12:8               10:14                                           8:19 9:16
                      revoked 16:25           specific 6:23
ready 19:11                                                           sure 10:11
                                               7:8 7:10
                      rewind 8:25                                      15:18 16:21
real 12:13                                     12:16
                       9:1                                             20:3
really 11:6                                   specifically
                      Rock 6:6                                        swear 5:9
 11:6                                          9:21 13:12
                      run 6:12                                        sworn 5:16
 15:12 17:17                                  stand 20:22
realm 16:9             9:9 9:16                                       system 6:13
                                              start 6:3
                       9:17                                            12:8 17:3
reciprocated           16:12 16:13            state 6:15               18:12
 8:5                   16:13 16:17             6:24 8:1
record                 16:20 16:23             11:4 11:20                  T
 19:11 21:5            18:10                  states                  tactical
recovers              running                  16:17 16:18             13:11
 18:11                 8:20 9:3               stating 11:8            tag 18:10
relation              Ryan 7:13               statute 12:18           taker 10:12
    Case 2:21-cv-02813-CFK      Document 47-9 Filed 03/15/22
             Ofc Kevin Tilghman January 4, 2022 NDT Assgn # 54757
                                                                    Page 14 of 14 Page 13

 10:23                trying 16:4             verifying
takers 10:21          type 11:9                6:24 7:8
                                               13:6
talking               typically
 9:23 17:10                                   VIDEOCONFEREN
                       10:16
                                               CE 5:1
testified
 5:17                      U
                      understand                   W
testimony                                     walk 13:16
                       5:25 8:12
 5:11
                       8:12 8:13              wasn't 8:9
Thank 5:14             10:15                   15:22
 5:14                                          18:6 20:15
                      understandabl
 14:24 18:17
                       e 12:15                week 13:23
 20:6
 20:19 20:20          unit 13:11               13:24
 21:3                                          14:2 14:6
                      University
theirs 19:20                                  we'll 18:10
                       6:6
there's               un-ordinary             we're 17:9
 8:17 8:17             10:11                  whenever
 13:19                update 16:20             19:18
they're 8:20                                  WHEREUPON
Tilghman                    V                  21:6
 5:2 5:7              valid 7:21              whether 13:25
 5:16 5:21             7:23 8:2                14:19
 21:7                  8:3 8:3                 15:9 16:2
                       9:10 11:3
traffic 10:1                                  whoever 10:13
                       11:21
training 10:9          12:9                   whole 5:12
 10:10                 17:15 18:2             Wow 14:8
transcript            vehicle 13:17
 20:23                 13:19                        Z
transfer              verified 17:3           Zabel 10:19
 10:13                 17:8                    16:6
                                               17:23 18:17
transported           verify 6:10
                                               19:13 19:17
 17:7                  8:8 8:16                20:5
tried 15:20            10:4                    20:18 20:25
                       10:16 13:15             21:2
truth 5:11
                       13:25
 5:12 5:12
                       15:8 16:2
try 11:2               16:5
